                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:12-CR-239-GCM-DCK


UNITED STATES OF AMERICA,                      )
                                               )
                 Plaintiff,                    )
                                               )
v.                                             )                      ORDER
                                               )
JOHN MCDOWELL,                                 )
                                               )
                Defendant.                     )


       THIS MATTER IS BEFORE THE COURT on Defendant’s “Withdrawal Of Motion

To Secure Copies Of Filed Plea Agreements Of Co-Defendants” (Document No. 258) filed July

8, 2013. For good cause shown, the undersigned will grant the motion.

       IT IS THEREFORE ORDERED that Defendant’s “Withdrawal Of Motion To Secure

Copies Of Filed Plea Agreements Of Co-Defendants” (Document No. 258) is hereby

GRANTED.


                                            Signed: July 8, 2013




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